Case:20-12377-MER Doc#:777 Filed:01/22/21                     Entered:01/22/21 17:08:13 Page1 of 10




                            UNITED STATES BANKRUPTCY COURT
                             FOR THE DISTRICT OF COLORADO

 IN RE:                                                   )
                                                          )       Case No. 20-12377-EEB
 SKLAR EXPLORATION COMPANY, LLC                           )
 EIN: XX-XXXXXXX                                          )       Chapter 11
                                                          )
    Debtor.                                               )
                                                          )
                                                          )
                                                          )       Case No. 20-12380-EEB
 SKLARCO, LLC                                             )
 EIN: XX-XXXXXXX                                          )       Chapter 11
                                                          )
 Debtor.                                                 )

  EXPEDITED MOTION TO SET HEARING ON MOTION FOR CLARIFICATION OF
    ORDERS AND TO AUTHORIZE IMMEDIATE OFFSET OF JOINT INTEREST
                       BILLING OBLIGATIONS

          The Debtors, Sklar Exploration Company, LLC (“SEC”) and Sklarco, LLC (“Sklarco”
 and together “Debtors”), by and through their attorneys, Kutner Brinen, P.C., move the Court for
 entry of an Order setting a hearing on the Debtors’ Motion for Clarification of Orders and to
 Authorize Immediate Offset of Joint Interest Billing Obligations (“Offset Motion”) (Docket No.
 551) on an expedited basis, and in support thereof state as follows:
          1.     The Debtors filed their Offset Motion on September 4, 2020, seeking clarification
 of the Final Order Authorizing Use of Cash Collateral, Granting Adequate Protection, and
 Providing Related Relief (Docket No. 433) (“Final Cash Collateral Order”) and to offset post-
 petition joint interest billing obligations owed by working interest owners (“WIOs”) to SEC
 against post-petition revenue owed to such WIOs.
          2.     At the time of filing the Offset Motion, SEC’s cash flow was suffering from the
 repeated failure or refusal of WIOs to pay post-petition joint interest billing obligations, resulting
 in over $1.8 million in unpaid joint interest billings (“JIBs”), of which approximately $1.5
 million was past due.
          3.     The refusal to pay JIBs stems from language in the heavily negotiated Final Cash
 Collateral Order, which states, in relevant part:
          (c) The Budget shall provide, and the Debtors shall, at all times during these Bankruptcy

                                                     1
Case:20-12377-MER Doc#:777 Filed:01/22/21                       Entered:01/22/21 17:08:13 Page2 of 10




         Cases, deposit 100% of the revenue received on account of non-operating working
         interests (“WIO Revenue”) into the revenue account maintained by SEC.
         . . . SEC shall account for receipt and deposit of WIO Revenue by working interest owner
         in accordance with best practices for the industry, and may not use funds due to non-
         insider working interest owner without that owner’s written consent. SEC shall pay WIO
         Revenue to the non-insider working interest holders in accordance with the Order
         Authorizing Payment of Working Interest Obligations and Limited Offset of Joint Interest
         Billing Obligations [Dkt. No. 317], which payments are indefeasible subject to rights and
         obligations under relevant Participation Agreements, Joint Operating Agreements, or
         similar agreements. Subject to the Budget, SEC and a non-insider working interest owner
         may agree in writing to offset any WIO Revenue due to that interest owner against any
         payments due from that WIO to SEC, including pre- and post-petition amounts due.

         4.       This provision, which was intended to provide additional assurances to WIOs that
 SEC was not using oil and gas revenue owed to others in its operations, has instead been
 weaponized against SEC. Certain WIOs are using this provision to avoid payment of operating
 expenses while escaping the consequence of having their revenue offset against unpaid JIBs, and
 simultaneously ignoring demands for payment.
         5.       SEC continues to operate and remain current on post-petition payments to its
 vendors. All expenses are incurred for the benefit of WIOs and other interest holders, and a
 majority of the WIOs are timely paying their JIBs. It is only certain WIOs that are refusing to
 pay their JIBs, knowing the SEC’s remedies are limited by the Final Cash Collateral Order.
         6.       Put simply, these WIOs are expecting to get 100% of the benefit, without paying
 their share of the expenses despite their contractual obligation to do so, causing a detriment to
 the other WIOs who are paying their proportionate share of expenses, and to the Debtors’
 respective estates and their creditors.
         7.       Objections to the Offset Motion were filed by Pruet Production Company, Fant
 Energy Limited, JF Howell Interests, LP, the Kudzu Group, and JJS.1
         8.       At a hearing on the Offset Motion on October 22, 2020, the Court held the Offset
 Motion in abeyance pending further Order of the Court, in part pending the completion of the
 post-petition reserve report and progress on the Debtors’ Plan of Reorganization. A list of
 parties who are sixty days or more past-due is attached hereto as Exhibit A.
         9.       Since the October 22, 2020 hearing, the Debtors have completed the reserve

 1
  The “Kudzu Group” is comprised of Alabama Oil Company, Apple River Investments, LLC, and Kudzu Oil
 Properties, LLC. “JJS” is comprised of JJS Interests Escambia, LLC, JJS Interests Steele Kings, LLC, and JJS
 Working Interests, LLC.

                                                         2
Case:20-12377-MER Doc#:777 Filed:01/22/21              Entered:01/22/21 17:08:13 Page3 of 10




 report, filed their Joint Plan of Reorganization and Disclosure Statement to Accompany the Plan
 of Reorganization, and completed a mediation with East West Bank, the Official Committee of
 Unsecured Creditors, the Ad Hoc Committee of Working Interest Owners, and several additional
 working interest holders. The mediation resulted in significant progress toward an agreement on
 the terms of a Plan of Reorganization with East West Bank and the Official Committee of
 Unsecured Creditors.
        10.     Despite the progress the Debtors have made in their reorganization efforts, SEC’s
 cash flows have continued to suffer from the continued refusal or failure of certain WIOs to pay
 their JIBs and the inability of SEC to offset JIBs against revenue owed to WIOs who are refusing
 to pay their JIBs. The resulting decrease in cash flow has become an urgent situation.
        11.     As of the date of filing this Motion, the balance of JIBs owed to SEC by WIOs
 has increased to $2,660,604.44, of which $2,168,917.91 is past due.
        12.     One of the members of the Ad Hoc Committee, McCombs Energy, Ltd.
 (“McCombs”) and its related entity, owe $789,642.94 in unpaid JIBs – 29.7% of the total JIBs
 owed to SEC and over $300,000 more than any pre-petition claim asserted by McCombs.
 Despite repeated requests, multiple demand letters, and a notice of default under applicable
 Operating Agreements, McCombs continues to refuse to pay its JIBs, while continuing to receive
 100% of its revenue each month.
        13.     Another member of the Ad Hoc Committee, FPCC USA, Inc. (“FPCC”) owes
 $178,878.63, and similarly refuses to pay its JIBs despite repeated requests, multiple demand
 letters, and a notice of default under the applicable Operating Agreements. FPCC continues to
 refuse to pay its JIBs while continuing to receive 100% of its revenue each month. Like
 McCombs, FPCC has similarly withheld payment of its JIBs in excess of its pre-petition claim
 for unpaid revenue.
        14.     As a result of the continued refusal of multiple WIOs to pay their JIBs, SEC’s
 working capital has been exhausted, and SEC is approaching administrative insolvency. SEC
 has only maintained its operations by relying heavily on the use of cash collateral in the form of
 intercompany loans from Sklarco as a WIO and owner of non-operated assets which generate
 revenue, resulting in Sklarco contributing far more than its proportionate share of JIBs to SEC’s
 continued operations.
        15.     The repeated refusal of WIOs to pay their JIBs has placed SEC and Sklarco’s

                                                 3
Case:20-12377-MER Doc#:777 Filed:01/22/21                Entered:01/22/21 17:08:13 Page4 of 10




 reorganization efforts in jeopardy, and the inability of SEC to offset unpaid JIBs against revenue
 prevent SEC from collecting on the amounts necessary to maintain its operations. If SEC is
 unable to reorganize, it would be forced to look to a wind down process, the cost of which is
 estimated to be between $750,000 and $1 million, to the detriment of SEC’s estate and its
 unsecured creditors.
        16.      As set forth in the Offset Motion, the Debtors seek to avoid uncertainty in the
 interpretation of the Final Cash Collateral Order and Oil and Gas Order, and therefore Debtors
 request clarification that the Final Cash Collateral Order:
              a. Requires SEC to pay revenue to WI holders subject to the applicable Participation
                 Agreements, Joint Operating Agreements, and any other applicable agreement;
              b. Does not limit SEC’s ability to undertake collection efforts in accordance with the
                 applicable Participation Agreements, Joint Operating Agreements, and any other
                 applicable agreements, including without limitation, offsetting unpaid post-
                 petition JIBs against post-petition revenue owed to a WI holder and/or foreclosing
                 on a noncompliant WI holder’s interest;
              c. Does not require written consent from a noncompliant WI holder prior to SEC
                 exercising its rights under the applicable agreements to offset JIBs against
                 revenue in the event of a non-payment; and
              d. Does not allow WI holders to offset unpaid JIBs against pre-petition revenue
                 owed to such WI holder or pre-petition cash call advances.
        17.      SEC further requests authorization to immediately offset post-petition JIBs owed
 by noncompliant WI holders as identified on Exhibit A against post-petition revenue owed to
 such WI holders.
        18.      Absent the Final Cash Collateral Order and the requirement that all offsets be
 expressly authorized, SEC would be permitted to setoff or recoup unpaid JIBs against revenue in
 accordance with the applicable Operating Agreements to ensure that SEC can continue to operate
 for the benefit of the WIOs and other parties with interests in the wells.
        19.      Without the ability to offset post-petition revenue against JIBs owed by
 noncompliant working interest holders, SEC will not have sufficient funds to continue operations
 through a hearing on confirmation of the Plan.
        20.      Accordingly, the Debtors request that the Court set a hearing on the Offset Motion

                                                  4
Case:20-12377-MER Doc#:777 Filed:01/22/21               Entered:01/22/21 17:08:13 Page5 of 10




 on an expedited basis regarding SEC’s ability to offset post-petition revenue against unpaid post-
 petition JIBs and requiring WIOs to remain current on JIB payments.
        21.     The Debtors submit that no further notice of the Offset Motion is necessary, as
 notice of the Offset Motion was previously sent to all WIOs, and those parties who previously
 filed objections to the Offset Motion will receive immediate notice of this Motion through the
 Court’s CM/ECF system.
        WHEREFORE, the Debtors pray the Court make and enter an Order setting a hearing on
 the Debtors’ Motion for Clarification of Orders and to Authorize Immediate Offset of Joint
 Interest Billing Obligations (Docket No. 551) on an expedited basis, and for such further and
 additional relief as to the Court may appear just and proper.
 DATED: January 22, 2021                              Respectfully submitted,

                                                      By:___/s/ Keri L. Riley
                                                         Jeffrey S. Brinen, #20565
                                                         Keri L. Riley, #47605
                                                         KUTNER BRINEN, P.C.
                                                         1660 Lincoln Street, Suite 1720
                                                         Denver, CO 80264
                                                         Telephone: (303) 832-2400
                                                         E-mail: klr@kutnerlaw.com




                                                  5
Case:20-12377-MER Doc#:777 Filed:01/22/21       Entered:01/22/21 17:08:13 Page6 of 10




                                CERTIFICATE OF SERVICE

       I certify that on January 22, 2021, I served a complete copy of the foregoing
 EXPEDITED MOTION TO SET HEARING ON MOTION FOR CLARIFICATION OF
 ORDERS AND TO AUTHORIZE IMMEDIATE OFFSET OF JOINT INTEREST
 BILLING OBLIGATIONS on the following parties in compliance with the Federal Rules of
 Bankruptcy Procedure and the Court’s Local Rules:


 Paul Moss, Esq.
 US Trustee’s Office                          Baker Hughes Company
 1961 Stout Street                            (Representative: Christopher J. Ryan)
 Suite 12-200                                 2001 Rankin Road
 Denver, CO 80294                             Houston, TX 77073

 Stoneham Drilling Corporation                Timothy C. Mohan, Esq.
 (Representative: Heather Stickel)            Foley & Lardner, LLP
 c/o James B. Bailey, Esq.                    600 17th Street
 Bradley Arant Boult Cummings, LLP            Suite 2020 South
 1819 Fifth Avenue North                      Denver, CO 80202
 Birmingham, AL 35203
                                              J. Eric Lockridge, Esq.
 Mesa Fluids, LLC                             Kean Miller LLP
 (Representative: Aaron W. Merrell)           400 Convention Street
 1669 South 580 East                          Suite 700
 American Fork, UT 84057                      P.O. Box 3513
                                              Baton Rouge, LA 70802
 TCP Cottonwood, L.P.
 (Representative: Kyle C. McInnis)            Craig K. Schuenemann, Esq.
 c/o Eric Lockridge                           Bryan Cave Leighton Paisner LLP
 400 Convention Street                        1700 Lincoln Street
 Suite 700                                    Suite 4100
 Baton Rouge, LA 70801                        Denver, CO 80203

 Rapad Well Service Company, Inc.             Giovanni M. Ruscitti, Esq.
 (Representative: Chesley James)              Berg Hill Greenleaf Ruscitti, LLP
 c/o Jeremy Retherford, Esq.                  1712 Pearl Street
 Balch & Bingham, LLP                         Boulder, CO 80302
 1901 Sixth Avenue North
 Suite 1500                                   Bryce A. Suzuki, Esq.
 Birmingham, Alabama 35203-4642               Bryan Cave Leighton Paisner, LLP
                                              Two North Central Avenue
 Kelley Brothers Contractors, Inc.            Suite 2100
 (Representative: Jerry Kelley)               Phoenix, AZ 85004-4406
 401 County Farm Road
 Waynesboro, MS 39367

                                          6
Case:20-12377-MER Doc#:777 Filed:01/22/21     Entered:01/22/21 17:08:13 Page7 of 10




 James B. Bailey, Esq.                      Shay L. Denning, Esq.
 Bradley Arant Boult Cummings, LLP          Thomas H. Shipps, Esq.
 1819 Fifth Avenue North                    Maynes, Bradford, Shipps & Sheftel, LLP
 Birmingham, AL 35203                       835 East Second Avenue
                                            Suite 123
 Timothy M. Riley, Esq.                     Durango, CO 81301
 Hopping Green & Sams, P.A.
 P.O. Box 6526                              Robert Padjen, Esq.
 Tallahassee, FL 32314                      Deanna Lee Westfall, Esq.
                                            Assistant Attorney General
 Michel D. Rubenstein, Esq.                 Colorado Department of Law
 Liskow & Lewis                             1300 Broadway
 1001 Fannin Street                         8th Floor
 Suite 1800                                 Denver, CO 80203
 Houston, TX 77002
                                            Timothy M. Swanson, Esq.
 Duane J. Brescia, Esq.                     Moye White LLP
 Clark Hill Strasburger                     1400 16th Street
 720 Brazos                                 6th Floor
 Suite 700                                  Denver, CO 80202-1486
 Austin, TX 78701
                                            Joseph E. Bain, Esq.
 Kevin S. Neiman, Esq.                      Jones Walker LLP
 Law Offices of Kevin S. Neiman, P.C.       811 Main Street
 999 18th Street                            Suite 2900
 Suite 1230 South                           Houston, TX 77002
 Denver, CO 80202
                                            Madison Tucker, Esq.
 Robert L. Paddock, Esq.                    Jones Walker LLP
 Buck Keenan LLP                            201 St. Charles Avenue
 2229 San Felipe                            Suite 5100
 Suite 1000                                 New Orleans, Louisiana 70170
 Houston, TX 77019
                                            Barnet B. Skelton, Jr., Esq.
 Jeremy L. Retherford, Esq.                 815 Walker
 Balch & Bingham, LLP                       Suite 1502
 1901 Sixth Avenue North                    Houston, TX 77002
 Suite 1500
 Birmingham, Alabama 35203                  Amy L. Vazquez, Esq.
                                            Jones Walker LLP
 Matthew J. Ochs, Esq.                      811 Main Street
 Holland & Hart, LLP                        Suite 2900
 555 Seventeenth Street                     Houston, TX 77002
 Suite 3200
 P.O. Box 8749
 Denver, CO 80201-8749

                                        7
Case:20-12377-MER Doc#:777 Filed:01/22/21     Entered:01/22/21 17:08:13 Page8 of 10




 Matthew S. Okin, Esq.
 John Thomas Oldham, Esq.                   John D. Cornwell, Esq.
 Okin Adams, LLP                            Grant M. Beiner, Esq.
 1113 Vine Street                           Christopher D. Johnson, Esq.
 Suite 240                                  Munsch Hardt Kopf & Harr, P.C.
 Houston, TX 77002                          700 Milam Street
                                            Suite 2700
 Christopher H. Meredith, Esq.              Houston, TX 77002
 Copeland Cook Taylor & Bush, P.A.
 1076 Highland Colony Parkway               Michael J. Guyerson, Esq.
 600 Concourse, Suite 200                   Buechler Law Office, LLC
 P.O. Box 6020                              999 18th Street
 Ridgeland, Mississippi 39158-6020          Suite 1230 South
                                            Denver, CO 80202
 Michael L. Niles, Esq.
 Brian G. Rich, Esq.                        Jordan B. Bird, Esq.
 Berger Singerman LLP                       Cook Yancey King & Galloway, APLC
 313 North Monroe Street                    333 Texas Street
 Suite 301                                  Suite 1700
 Tallahassee, FL 32301                      Shreveport, Louisiana 71120-2260

 Victoria Argeroplos, Esq.                  Robert L. Paddock, Esq.
 Jackson Walker LLP                         Buck Keenan, LLP
 1401 McKinney Street                       2229 San Felipe
 Suite 1900                                 Suite 1000
 Houston, TX 77010                          Houston, TX 77019

 David R. Taggart, Esq.                     Ryan M. Seidemann, Esq.
 Bradley Murchison Kelly & Shea, LLC        Assistant Attorney General
 401 Edwards Street                         Civil Division/Lands and Natural Resources
 Suite 1000                                 P.O. Box 94005
 Shreveport, Louisiana 71101                Baton Rouge, Louisiana 70804-9005

 Jordan B. Bird, Esq.                       David M. Miller, Esq.
 Cook Yancey King & Galloway, APLC          Spencer Fane LLP
 333 Texas Street                           1700 Lincoln Street
 Suite 1700                                 Suite 2000
 P.O Box 22260                              Denver, CO 80203
 Shreveport, Louisiana 71120-2260
                                            Jennifer J. Hardy, Esq.
 Paul H. Stephenson III, Esq.               Willkie Farr & Gallagher, LLP
 Jim F. Spencer, Jr., Esq.                  600 Travis Street
 Watkins & Eager, PLLC                      Houston, TX 77002
 P.O. Box 650
 Jackson, Mississippi 39205



                                       8
Case:20-12377-MER Doc#:777 Filed:01/22/21       Entered:01/22/21 17:08:13 Page9 of 10




 Duane J. Brescia, Esq.                       Ryan J. Lorenz, Esq.
 Clark Hill Strasburger                       Clark Hill PLC
 720 Brazos Street                            14850 North Scottsdale Road
 Suite 700                                    Suite 500
 Austin, TX 78701                             Scottsdale, Arizona 85254

 Andrew G. Edson, Esq.                        Brian G. Rich, Esq.
 Clark Hill Strasburger                       Michael J. Niles, Esq.
 901 Main Street                              Berger Singerman LLP
 Suite 6000                                   313 North Monroe Street
 Dallas, TX 75202                             Suite 301
                                              Tallahassee, FL 32301
 Craig M. Geno, Esq.
 Law Offices of Craig M. Geno, PLLC           Katherine A. Ross, Esq.
 587 Highland Colony Parkway                  U.S. Attorney’s Office for the
 Ridgeland, MS 39157                           District of Colorado
                                              Assistant United States Attorney
 Christopher H. Meredith, Esq.                1801 California Street
 Glenn Gates Taylor, Esq.                     Suite 1600
 Copeland Cook Taylor & Bush, P.A.            Denver, CO 80202
 600 Concourse, Suite 200
 1076 Highland Colony Parkway                 Ryco Exploration, LLC
 P.O. Box 6020                                401 Edwards Street
 Ridgeland, MS 39158-6020                     Suite 915
                                              Shreveport, LA 71101
 Matthew S. Okin, Esq.                        ATTN: M. Robin Smith
 John Thomas Oldham, Esq.
 Okin Adams LLP                               Ryco Exploration, LLC
 1113 Vine Street                             40 Golf Club Drive
 Suite 240                                    Haughton, LA 71037
 Houston, TX 77002                            ATTN: M. Robin Smith

 Curtis R. Shelton, Esq.                      Stephen K. Lecholop II, Esq.
 Jennifer Norris Soto, Esq.                   Rosenthal Pauerstein, Esq.
 Ayres Shelton Williams Benson & Paine,       Sandoloski Agather LLP
 LLC                                          755 East Mulberry
 333 Texas Street, Suite 1400                 Suite 200
 P.O. Box 1764                                San Antonio, TX 78212
 Shreveport, Louisiana 71166
                                              Katherine Guidry Douthitt, Esq.
 Armistead M. Long, Esq.                      Blanchard Walker O’Quin & Roberts
 Gordon Arata Montgomery Barnett              P.O. Box 1126
 McCollam Duplantis & Eagan, LLC              Shreveport, Louisiana 71163
 400 East Kaliste Saloon Road
 Suite 4200
 Lafayette, Louisiana 70508

                                          9
Case:20-12377-MER Doc#:777 Filed:01/22/21         Entered:01/22/21 17:08:13 Page10 of 10




  Andrew J. Shaver, Esq.                         Timothy M. Swanson, Esq.
  Bradley Arant Boult Cummings LLP               Moye White LLP
  1819 Fifth Avenue North                        1400 16th Street
  Birmingham, AL 35203                           Suite 600
                                                 Denver, CO 80206
  Theodore J. Hartl, Esq.
  Ballard Spahr LLP                              Adam L. Hirsch, Esq.
  1225 17th Street                               Davis Graham & Stubbs LLP
  Suite 2300                                     1550 Seventeenth Street
  Denver, CO 80202-5596                          Suite 500
                                                 Denver, CO 80202
  John H. Smith
  Quitman Tank Solutions, LLC
  P.O. Box 90
  Quitman, MS 39355

  Belinda Harrison
  58 County Road 5033
  Heidelberg, MS 39439

  Casey C. Breese, Esq.                          /s/Vicky Martina
  Welborn Sullivan Meck & Tooley, P.C.           Vicky Martina
  1125 17th Street                               Kutner Brinen PC
  Suite 2200 South
  Denver, CO 80202

  Jeff Carruth, Esq.
  Weycer Kaplan Pulaski & Zuber, P.C.
  11 Greenway Plaza
  Suite 1400
  Houston, TX 77046

  Michael E. Riddick, Esq.
  Katherine Guidry Douthill, Esq.
  Blanchard Walker O’Quin & Roberts, P.C.
  333 Texas Street
  Regions Tower
  Suite 700
  Shreveport, Louisiana 71101

  Chris Crowley, Esq.
  Feldmann Nagel Cantafio, PLLC
  1875 Lawrence Street
  Suite 730
  Denver, CO 80202



                                            10
